                                 Exhibit B
                      Moses Lake Three-Way Agreement




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 AGREEMENT TO WITHDRAW MOTION FOR RELIEF FROM STAY,
FOR RE-ENTRY OF SUBTENANT ECO DIVERSIFIED HOLDINGS, INC.
               AND FOR RELEASE OF CLAIM


      This Agreement to Withdraw Motion for Relief from Stay, for Re-Entry of
Subtenant Eco Diversified Holdings, Inc., and For Release of Claim dated as of
March 18, 2019, is entered into among 1) the Estate of Giga Watt, Inc., represented
by the duly-appointed Chapter 11 Trustee, 2) Eco Diversified Holdings, Inc., and
3) Giga Plex LLC and MLDC 1 LLC. The Estate of Giga Watt, Inc., Giga Plex
LLC, MLDC 1 LLC and Eco Diversified Holdings, Inc. are at times referred to
herein collectively as the “Parties.”
                                   RECITALS
     WHEREAS, bold and capitalized terms used in these Recitals shall have the
meanings ascribed to them in these Recitals and Section 1 hereof.

      WHEREAS, the Debtor has leased from the Moses Lake Landlords four
parcels pursuant to four leases.

      WHEREAS, pursuant to the Claim, EDH has asserted the right to payment
on a general unsecured basis of the sum of $25,180,375.00 arising from the alleged
breach by the Debtor of the Pre-Petition Agreements.

       WHEREAS, the Moses Lake Landlords allege that they neither received
notice of nor approved the Sublease as required by the Parcel E Pods Lease.

     WHEREAS, the Trustee alleges that EDH is in default of the Pre-Petition
Agreements.

     WHEREAS, EDH alleges that the Trustee is in breach of the Pre-Petition
Agreements.

       WHEREAS, on the Petition Date, the Debtor commenced a voluntary
petition for relief pursuant to the Bankruptcy Code.

      WHEREAS, Mark D. Waldron is the duly-appointed Chapter 11 Trustee for
the Estate of Giga Watt, Inc. in the Bankruptcy Case operating in his official
capacity as Chapter 11 Trustee and not in any personal capacity.

       WHEREAS, the Grant County Public Utility District will not provide
electricity to the Parcel E Pods without receipt of the EDH Catch-up Power
Payment and the EDH Bond Payment.




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      WHEREAS, the Moses Lake Landlords have asserted various claims and
have moved the Bankruptcy Court for relief from the automatic stay pursuant to
section 362 of the Bankruptcy Code.

      WHEREAS, the Trustee and the Moses Lake Landlords have entered into
the Two-Way Agreement.

      WHEREAS, the Parties wish to restart operations on the Parcel E Pods
Lease and resolve their differences with respect to the Pre-Petition Agreements and
the Claim.

      NOW, THEREFORE, in consideration of the premises and the agreements,
provisions and covenants herein contained, the Parties hereto agree as follows:

SECTION 1 DEFINITIONS
      1.1 “Agreement” means this Agreement to Withdraw Motion for Relief
from Stay, for Re-Entry of Subtenant Eco Diversified Holdings, Inc., and For
Release of Claim, dated as of March 18, 2019, between the Moses Lake Landlords,
EDH and the Trustee on behalf of the Estate of Giga Watt, Inc.

      1.2 “Bankruptcy Case” means that bankruptcy proceeding commenced
by Giga Watt, Inc., in the Bankruptcy Court on November 19, 2018, seeking an
order of relief pursuant to chapter 11 of the Bankruptcy Code, and assigned case
number 18-03197.

      1.3 “Bankruptcy Code” means sections 101 et seq. of title 11 of the
United States Code.

      1.4 “Bankruptcy Court” means the United States Bankruptcy Court for
the Eastern District of Washington.

      1.5 “Claim” means that certain proof of claim assigned number 67 in the
claims registry of the Bankruptcy Court in the Bankruptcy Court filed by EDH.

      1.6 “Closing Date” means the earlier of (i) three business days after the
date upon which an Order approving this Agreement has been entered on the
docket of the Bankruptcy Court in the Bankruptcy Case or (ii) the date by which
EDH has (x) signed this Agreement and (y) paid the Catch-Up Power Payment and
the EDH Bond Payment.

     1.7 “Data Center” means that certain real property and accompanying
improvements that is subject to the Turn-Key Datacenter Lease and License
Agreement Between Enterprise Focus, Inc. (as alleged to have been assumed by
Giga Watt, Inc.), as tenant, and MLDC 1, LLC, as Landlords, dated June 10, 2015,


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with respect to a “portion of Parcel D, Carlile Development Major Plat, Lot 1
Industrial Binding Site Plan, Grant County, Washington.”
      1.8    “Debtor” means Giga Watt, Inc.

     1.9 “Development Agreement” means the Mine Farm Development
Agreement, dated June 27, 2017 between the Debtor and EDH.

      1.10 “EDH” means Eco Diversified Holdings, Inc.

       1.11 “EDH Bond Payment” means the payment by the Moses Lake
Landlords to a bonding company as required by the Grant County Public Utility
District as a condition to the resumption of electricity service to the Parcel E Pods.

     1.12 “EDH Bond Payment Amount” means one-half of the bond
payment, not to exceed $10,000.

      1.13 “EDH Catch-Up Payment” means the payment that the EDH agrees
to pay to the Moses Lake Landlords and that the Moses Lake Landlords will
subsequently pay to the Grant County Public Utility for the power bill for the
Parcel E Pods in the amount of $128,013.34 plus interest and penalties that may
accrue after March 14, 2019 (but not to exceed $2,500), subject to the terms and
conditions of this Agreement.
       1.14 “EDH Security Deposit” means the sum of $34,034.00 that EDH
asserts it delivered to the Debtor pursuant to the terms of the Sublease.
      1.15 “EDH Catch-Up Payment Amount” means the sum of (i)
$128,013.34 plus (ii) interest and penalties that may accrue after March 14, 2019
(but not to exceed $2,500) due to the Grant County PUD by the Moses Lake
Landlords to obtain electricity service to the Parcel E Pods.
      1.16 “Estate” means the estate of Giga Watt, Inc. in the Bankruptcy Case
pursuant to the Bankruptcy Code.

      1.17 "Event of Default" means any of the events specified in Section 9
herein which constitutes an Event of Default.

     1.18 “Expansion Pods” means the portion of Parcel D, Carlile
Development Major Plat, Lot 1 Industrial Binding Site Plan, Grant County,
Washington that is subject to the MLDC 1 Pods Lease.
     1.19 “Expansion Pods Lease” means the Amended and Restated Lease
Between Giga Watt, Inc., as tenant, and MLDC 1, LLC, as Landlords, dated
October 16, 2018 with respect to the Expansion Pods.


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      1.20 “Grant County PUD” means the Grant County Public Utility District
located in Grant County, Washington.
      1.21 “Moses Lake Bond Payment” means the payment of up to $25,000
by the Moses Lake Landlords to a bonding company as required by the Grant
County Public Utility District before the Grant County Public Utility District will
provide electricity to the Data Center and the Parcel C Pods.

       1.22 “Moses Lake Landlords” means Giga Plex LLC and MLDC 1 LLC,
collectively.

       1.23 “Moses Lake Catch-Up Payments Amount” means the sum of (i)
$106,279.54 paid to the Grant County PUD by the Moses Lake Landlords to obtain
electricity service to the Parcel C Pods plus (ii) $64,519.06 paid to the Grant
County PUD by the Moses Lake Landlords to obtain electricity service to the Data
Center for a total of $170,798.60.

      1.24 “Moses Lake Leases” means the (i) Data Center Lease, (ii) Parcel C
Pods Lease, (iii) Parcel E Pods Lease, and (iv) Expansion Pods Lease.

     1.25 “Moses Lake Parcels” means the Parcel C Pods, the Data Center, the
Expansion Pods, and the Parcel E Pods.

      1.26 “Moses Lake Revenues” means (i) monthly revenues from the Moses
Lake Parcels LESS (ii) the monthly cost of electricity that is provided to the Moses
Lake Parcels PLUS (iii) the EDH Monthly Rent.
       1.27 “Parcel C Pods” means Parcel C, Carlile Development Major Plat,
Lot 1 Industrial Binding Site Plan, Grant County, Washington that is subject to the
Parcel C Pods Lease.

     1.28 “Parcel C Pods Lease” means the Amended and Restated Lease
Between Giga Watt, Inc., as tenant, and Giga Plex, LLC, as Landlords, dated
October 15, 2018, with respect to the Parcel C Pods.

       1.29 “Parcel E Pods” means Parcel E, Carlile Development Major Plat,
Lot 1 Industrial Binding Site Plan, Grant County, Washington that is the subject of
the Parcel E Pods Lease.
     1.30 “Parcel E Pods Lease” means the Amended and Restated Lease
Between Giga Watt, Inc., as tenant, and Giga Plex, LLC, as Landlords, dated
October 16, 2018 with respect to the Parcel E Pod.

      1.31 “Parties” means the Estate of Giga Watt, Inc., Eco Diversified
Holdings, Inc., and Giga Plex LLC and MLDC 1 LLC.


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      1.32 “Pods 6 and 7” means that portion of the Parcel E Pods and
improvements thereon that are subject to the Parcel E Pods Lease, but are not
subject to the Pre-Petition Agreement.

      1.33 “Pod 8” means that portion of the Parcel E Pods and improvements
thereon that are subject to the Pre-Petition Agreements.
      1.34 “Pre-Petition Agreements” means the Development Agreement, the
Service Agreement and the Sublease.

      1.35 “Service Agreement” means the Service Agreement, dated June 27,
2017, between Giga Watt Hosting, Inc. and EDH.

     1.36 “Sublease” means the Sublease, dated June 27, 2017, between the
Debtor and EDH.

      1.37 “Tendered Checks” means those certain checks that EDH has
previously delivered to the Chapter 11 Trustee in the sum of $42,576.00.

      1.38 “Trustee” means the duly-appointed Chapter 11 Trustee, Mark D.
Waldron, in the Bankruptcy Case acting on behalf of the Estate in his official
capacity as Chapter 11 Trustee and not in any personal capacity.

       1.39 “Two-Way Agreement” means that certain Agreement to Settle
Relief from Stay Motion, Obtain Super-Priority Unsecured Credit and Re-Enter the
Premises entered into by the Trustee and the Moses Lake Lawyers and that is
subject to Bankruptcy Court approval.

SECTION 2 INITIAL PAYMENTS BY EDH

       2.1 EDH Catch-Up Power Payment. On or before March 19, 2019, EDH
shall pay to the Moses Lake Landlords the EDH Catch-Up Power Payment, which
the Moses Lake Landlords shall pay to the Grant County Public Utility District as
soon as possible. If the payment is made with bitcoin, EDH shall include a 1.49%
conversion premium so that the EDH Catch-Up Power Payment may be converted
to US Dollars for payment to the Grant County PUD. The Moses Lake Landlords
reserve the right to recover from the Estate as an administrative expense the actual
amount paid to the Grant County Public Utility District for the power bill for the
Parcel E Pods if the EDH Catch-Up Payment does not cover the entire cost to
restore power.
      2.2 EDH Bond Payment. On or before March 19, 2019, EDH shall pay
the EDH Bond Payment to the Moses Lake Landlords. If the payment is made
with bitcoin, EDH shall include a 1.49% conversion premium so that the EDH


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Bond Payment may be converted to US Dollars for payment to the Grant County
PUD.
            2.2.1 Promptly after the receipt of the EDH Bond Payment, the
                  Moses Lake Landlords shall pay the EDH Bond Payment
                  Amount to the appropriate party at the time required by the
                  Grant County Public Utility District as a condition to the
                  resumption of electricity service to the Parcel E. Pods.

            2.2.2 Upon payment by the Moses Lake Landlord of the EDH Bond
                  Payment Amount, the amount of the Chapter 11 Trustee’s
                  liability to the Moses Lake Landlords for the Full Bond
                  Payment pursuant to the Two-Way Agreement shall be reduced
                  by the EDH Bond Payment Amount.
SECTION 3 CONTINUING PAYMENT OBLIGATIONS OF EDH

      3.1 EDH Monthly Rent. Commencing on April 1, 2019, and on the first of
each month thereafter, EDH shall pay to the Trustee the EDH Monthly Rent in the
amount of $9,000 per month. The EDH Monthly Rent is in lieu of the rent
provided in the Sublease.

       3.2 Current Electricity. EDH shall pay all current electricity bills for Pod
8 on a current basis. The Moses Lake Landlords shall deliver the electricity bills
with respect to Pod 8 within FIVE (5) business days of receipt of such bill(s) from
the Grant County PUD. EDH agrees to pay the current electricity bills for Pod 8
within FIVE (5) business days of receipt of such bill(s) from the Moses Lake
Landlords. This provision is in lieu of any provision regarding the payment of
electricity provided in the Pre-Petition Agreements. The Parties agree that EDH
shall have the right to request that Giga Plex, LLC install separate metering
equipment at EDH’s sole expense to monitor the amount of electricity being used
by EDH relative to the total amount of electricity being used by the Parcel E Pods,
and thereafter EDH shall be entitled to receive from the Trustee copies of
documentation regarding apportionment of power use and apportionment of power
expenses for the pods on the Parcel E Pods Lease not less than quarterly.
       3.3 Maintenance. Notwithstanding anything to the contrary in the Pre-
Petition Agreements, the Trustee shall have no obligation to provide any
maintenance, services or hosting services of any kind to EDH, Pod 8, or with
respect to any operations of EDH.

       3.4 Tendered Checks. On the Closing Date, the Trustee is authorized to
cash the Tendered Checks as full performance under the Sublease through the date
hereof and retain their proceeds as property of the Estate.



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      3.5 EDH Security Deposit. Until and unless the Trustee finds and obtains
possession of the EDH Security Deposit, then (i) any claim by EDH with respect to
the EDH Security Deposit shall be deemed waived and (ii) the Trustee shall no
obligation whatsoever with respect to the EDH Security Deposit.

             3.5.1 If the Trustee finds and obtains possession of the EDH Security
                   Deposit, then the Trustee shall hold the EDH Security Deposit
                   and shall apply the EDH Security Deposit to any default by
                   EDH of its obligations under the Pre-Petition Agreements
                   without waiver of the right to assert a claim for any amount in
                   excess of the EDH Security Deposit.

SECTION 4 PAYMENTS BY THE CHAPTER 11 TRUSTEE ON ESTATE’S
    BEHALF
      4.1 Current Electricity. After the Closing Date, the Trustee shall pay all
current electricity bills arising from the Moses Lake Leases to the Moses Lake
Landlords on a current basis. EDH shall pay all current electricity bills arising
from Pod 8 to the Trustee on a current basis. The Moses Lake Landlords shall
deliver to the Trustee the electricity bills with respect to the Moses Lake Leases
within FIVE (5) business days of receipt of such bill(s) from the Grant County
PUD. The Trustee agrees to pay the current electricity bills for the Moses Lake
Leases, within SEVEN (7) business days of receipt of such bill(s) from the Moses
Lake Landlords. The Trustee shall deliver to EDH the electricity bills with respect
to Pod 8 within TWO (2) business days of receipt of such bill(s) from the Moses
Lake Landlords. EDH agrees to pay the current electricity bills for Pod 8, within
FIVE (5) business days of receipt of such bill(s) from the Chapter 11 Trustee.
      4.2 Percentages. Subject to the limitation set forth in section 4.3 hereof,
the Trustee shall pay to the Moses Lake Landlords (i) seventy-seven percent (77%)
of Moses Lake Revenues up to $299,000 and (ii) eighty-five percent (85%) of
Moses Lake Revenues received in excess of $299,000. By way of example, if
Moses Lake Revenues are $450,000, the Trustee shall pay to the Moses Lake
Landlords seventy-seven percent (77%) of Moses Lake Revenue up to $299,000
and on the amount in excess, $151,000, the Trustee shall pay to the Moses Lake
Landlords eighty-five percent (85%).

      4.3 Paid in Full. Once the Moses Lake Landlords Catch-Up Power
Payment, the Moses Lake Bond Payment less the EDH Bond Payment, and all past
due rent (including unpaid electricity) that has accrued after the Petition Date for
all Moses Lake Leases has been paid in full, then the Trustee shall no longer be
obligated under this Agreement to pay a percentage of any monthly revenue;
however, the Trustee shall remain obligated to meet all obligations under the
Moses Lake Leases.



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      4.4 Landlords’ Allocation of Repayment. The Moses Lake Landlords shall
apply their portion of net revenues as set forth in section 4.2 in the following
Order:

            4.4.1 Current administrative rent (including unpaid electricity) under
                  each of the Moses Lake Leases on a current basis.

            4.4.2 Moses Lake Catch-Up Power Payments Amount.

            4.4.3 The Moses Lake Bond Payment Amount less the EDH Bond
                  Payment.

       4.5 Facility Security. After the Closing Date, the Trustee shall pay all
costs of securing the Data Center, the Expansion Pods, the Parcel C Pods and the
Parcel E Pods, other than Pod 8, in an amount to be negotiated, including
reimbursement of the Moses Lake Landlords for expenses incurred after the
Petition Date. The Parties agree to negotiate this amount in good faith.
       4.6 Moses Lake Security Deposits. After the Closing Date, the Trustee
shall replenish with the Moses Lake Landlords the deposits to be used by the
Moses Lake Landlords in the event of a default under this Agreement, in an
amount to be negotiated. The Parties agree to negotiate this amount in good faith.

SECTION 5 CONDITIONS PRECEDENT

       5.1 Evidence of Payment to Grant County PUD. As a condition to the
Parties’ obligations under this Agreement, the Moses Lake Landlords shall deliver
to the Parties evidence of payment of the EDH Catch-Up Power Payment to the
Grant County PUD and of the EDH Bond Payment, in a form satisfactory to the
Trustee.

       5.2 Court Approval. Approval of this Agreement by the Bankruptcy Court
is a condition precedent to the Trustee’s and Estate’s obligations hereunder. The
Trustee shall expeditiously seek Bankruptcy Court approval of this Agreement and
shall make every reasonable effort to obtain that approval. If this Agreement is not
approved, the EDH Catch-Up Power Payment and the EDH Bond Payment shall be
treated as a loan from EDH to the Estate and be deemed to be an administrative
claim.
SECTION 6 AFFIRMATIVE COVENANTS

       6.1 Monthly Reports. The Trustee covenants and agrees to provide to the
Moses Lake Landlords, on a monthly basis, a report of revenues and expenses of
the entire estate.



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     6.2 Monthly Payments. The Trustee covenants and agrees to make the
payments set forth herein not less than monthly.
SECTION 7 NEGATIVE COVENANTS

      7.1 The Trustee and EDH shall not and shall cause their attorneys,
professionals, employees, and consultants to not:

             7.1.1 contact the Grant County PUD during the term of the
                   Agreement without the prior, written consent of the Moses Lake
                   Landlords;

             7.1.2 incur, create, assume, suffer to exist or permit any other super-
                   priority administrative claim which is pari passu with or senior
                   to the claim of the Moses Lake Landlords against the Estate;
             7.1.3 seek or consent to any order seeking authority to take any
                   action that is prohibited by the terms of this Agreement or
                   refrain from taking any action that is required to be taken by the
                   terms of this Agreement.
SECTION 8 REPRESENTATIONS AND WARRANTIES

      8.1 The Moses Lake Landlords represent and warrant that the EDH
Catch-Up Power Payment and the Bond Payment are required by the Grant County
Public Utility District as a condition of providing electricity to the Parcel E Pods.
SECTION 9 NONDISTURBANCE AND ATTORNMENT

       9.1 The Parties agree that Giga Plex, LLC is the Landlord under that
certain Amended and Restated Lease by and between Giga Plex, LLC and Debtor,
as Tenant, dated on or about October 16, 2018 (“Master Lease”). The Parties
further agree as follows:

             9.1.1 The Parties hereby acknowledge and consent to the Sublease in
                   accordance with its terms and the modifications contained
                   herein; provided, however, that the Sublease shall automatically
                   be subordinate to any mortgage, deed of trust, UCC1 filing, or
                   other security interest created by Giga Plex, LLC which may
                   now be existing or hereafter placed upon the Premises
                   including any advances, interest, modifications, renewals,
                   replacements or extensions (“Landlord’s Mortgage”);
                   provided that nothing herein shall be construed as a waiver by
                   the Trustee of the right to avoid any preference or other
                   avoidable transfer pursuant to the Bankruptcy Code; and


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           9.1.2 EDH shall attorn to the holder of any Landlord’s Mortgage or
                 any person(s) acquiring the Premises at any sale or other
                 proceeding under any Landlord’s Mortgage provided such
                 person(s) assume the obligations of Landlord under the Parcel E
                 Pods Lease. EDH shall promptly and in no event later than
                 fifteen (15) days after request execute, acknowledge and deliver
                 documents which the holder of any Landlord’s Mortgage may
                 reasonably require as further evidence of this subordination and
                 attornment. Notwithstanding the foregoing, EDH’s obligations
                 under this Section to subordinate in the future are conditioned
                 on the holder of each Landlord’s Mortgage and each person
                 acquiring the Premises at any sale or other proceeding under
                 any such Landlord’s Mortgage not disturbing EDH’s occupancy
                 and other rights under this Lease, so long as no uncured event
                 of default by EDH exists.
           9.1.3 In the event Debtor defaults under the Master Lease, Giga Plex,
                 LLC shall provide notice and opportunity to cure such default
                 to EDH.

           9.1.4 Non-Disturbance. Provided that EDH is not then in default
                 under the Sublease, in the event of subordination of the
                 Sublease and/or the attornment by any conveyance or
                 proceeding, Subtenant’s leasehold interest hereunder shall not
                 be disturbed. Giga Plex, LLC’s acknowledgment and agreement
                 of nondisturbance provided for herein is self-operative, and no
                 further instrument of nondisturbance shall be required;
                 however, Giga Plex, LLC agrees that upon the request of EDH,
                 from time to time, Giga Plex, LLC shall execute whatever
                 reasonable instruments may be required to carry out the intent
                 of this Section.
           9.1.5 In the event that Trustee or any other party or proceeding rejects
                 the Master Lease or defaults thereunder, then EDH may
                 exercise a right to assume that portion of the Master Lease
                 contemplated in Section 9.1.8, below (covering Pod 8),
                 provided that the post-Agreement financial defaults (including
                 but not limited to rent and all electricity) of Debtor on the
                 Parcel E Pods Lease have been cured to Giga Plex, LLC by
                 EDH. In the event that EDH assumes the portion of the Master
                 Lease contemplated in this paragraph, then the terms of the
                 Master Lease shall survive and prevail over any contradictory
                 terms in the Sublease, except that any increased rent under the
                 Sublease as amended shall continue. In the event that the
                 monthly rent is less under the Sublease than the Master Lease,
                 then rent shall not decrease from the Master Lease rent amount.

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            9.1.6 In the event that the Trustee does not make a timely payment
                  under the Parcel E Pods Lease, then EDH shall have the right to
                  advance extra monies to cure, and thereafter all net revenues
                  after payment of current electricity obligations for Pods 6 and 7
                  of the Parcel E Pods Lease shall first be paid by the Trustee to
                  EDH to reimburse EDH for the advances before any payments
                  shall continue under section 4.2 above to Debtor and the Moses
                  Lake Landlords.

            9.1.7 Recordation.The parties acknowledge and agree that this
                  Agreement may be recorded with the Grant County Auditor.

            9.1.8 The Parties agree that Pod 8is a tenant improvement and owned
                  by EDH, subject to the terms of the Pre-Petition Agreements,
                  and the Sublease is for the land underneath Pod 8, which is
                  commonly known as Pod 8 of the Parcel E Pods Lease located
                  at 9221 Tyndall Road, Moses Lake, WA 98837, Grant County
                  Parcel Number 09-0969-104; and legally described as a portion
                  of Parcel E, Carlile Development Major Plat, Lot 1 Industrial
                  Binding Site Plan, Grant County, Washington, recorded January
                  13, 2017, under Grant County Auditor’s No. 1373121 (also
                  referred to herein as the “Premises”).

SECTION 10 EVENTS OF DEFAULT

       10.1 Events of Default. Each of the following events or conditions shall
constitute an Event of Default:

            10.1.1 EDH fails to make any payment required under this Agreement
                   when due and such failure is not remedied for a period of five
                   (5) days after receipt of written notice from the Trustee of such
                   failure to pay.

            10.1.2 The Trustee fails to make any payment required under this
                   Agreement when due and such failure is not remedied for a
                   period of five (5) days after receipt of written notice from the
                   Moses Lake Landlords of such failure to pay.
            10.1.3 The dismissal of the Bankruptcy Case or the conversion of the
                   Bankruptcy Case from one under Chapter 11 to one under
                   Chapter 7 of the Bankruptcy Code

            10.1.4 The entry of an order in the Bankruptcy Case granting any other
                   claim on a priority basis that is equal or superior to that granted


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                   to the Moses Lake Landlords herein, without the written
                   consent of the Moses Lake Landlords.
SECTION 11 ASSUMPTION OR REJECTION OF LEASES

      11.1 No Assumption or Rejection. By entering into this Agreement, the
Trustee is neither assuming nor rejecting the Pre-Petition Agreements. Nothing in
this Agreement constitutes either a rejection or an assumption of the Pre-Petition
Agreements, however the Pre-Petition Agreements that may be assumed shall only
be assumed as modified by the terms of this Agreement.

       11.2 Extension. EDH agrees to extend the deadline in the Bankruptcy Case
to assume or reject the Sublease for two months to May 19, 2019 and will
negotiate in good faith for any further extensions.
             11.2.1 The Parties hereby expressly acknowledge section 365(h)(1)(A)
                    of the Bankruptcy Code which provides:
                   If the Chapter 11 Trustee rejects an unexpired lease of real
                   property under which the debtor is the lessor and if the rejection
                   by the Chapter 11 Trustee amounts to such a breach as would
                   entitle the lessee to treat such lease as terminated by virtue of its
                   terms, applicable nonbankruptcy law, or any agreement made
                   by the lessee, then the lessee under such lease may treat such
                   lease as terminated by the rejection; or if the term of such lease
                   has commenced, THE LESSEE MAY RETAIN ITS RIGHTS
                   UNDER SUCH LEASE (INCLUDING RIGHTS SUCH AS
                   THOSE RELATING TO THE AMOUNT AND TIMING OF
                   PAYMENT OF RENT AND OTHER AMOUNTS PAYABLE
                   BY THE LESSEE AND ANY RIGHT OF USE, POSSESSION,
                   QUIET ENJOYMENT, SUBLETTING, ASSIGNMENT, OR
                   HYPOTHECATION) THAT ARE IN OR APPURTENANT TO
                   THE REAL PROPERTY FOR THE BALANCE OF THE
                   TERM OF SUCH LEASE AND FOR ANY RENEWAL OR
                   EXTENSION OF SUCH RIGHTS TO THE EXTENT THAT
                   SUCH RIGHTS ARE ENFORCEABLE UNDER
                   APPLICABLE NONBANKRUPTCY LAW.

SECTION 12 RELEASE AND WITHDRAWAL

       12.1 Release. Other than the obligations provided for by this Agreement,
the Parties irrevocably and unconditionally fully and forever release each other
from any and all claims, demands, actions, causes of actions, judgments, rights,
fees, damages, debts, obligations, liabilities, and expenses (inclusive of attorneys'
fees) of any kind whatsoever, whether known or unknown that one Party may have
or has ever had against the other Party, or any of them, arising out of, or in any way

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related to the Pre-Petition Agreements or the Claim from the beginning of time up
to and including the Closing Date.
     12.2 No Admission of Liability. No provision of this Agreement is an
admission of liability by either Party.

       12.3 Withdrawal of the Motion for Relief From Stay. The Moses Lake
Landlords shall withdraw their motion for relief from stay without prejudice to the
right to file a new motion for relief from stay. The Trustee and EDH reserve all
rights to object to such motion on any terms that either the Trustee or EDH
determines are warranted.

      12.4 Withdrawal of Claim. EDH shall withdraw the Claim with prejudice
pursuant to Rule 3006 of the Federal Rules of Bankruptcy Procedure by filing with
the Bankruptcy Court a Notice of Withdrawal.
      12.5 No Assignment of Claim. EDH affirms that it has not assigned or
otherwise transferred the Claim or any interest in the Claim to any party.
SECTION 13 MISCELLANEOUS
      13.1 Notices.

            13.1.1 All notices to the Moses Lake Landlords shall be sent to:

                    Giga Plex LLC
                    MLDC 1 LLC
                    10622 227th Avenue Se
                    Monroe, WA 982782
                    Attn: Ryan Oster

                    With a copy to:

                    David Visser, Esq.
                    David Kazemba, Esq.
                    Overcast Law Firm
                    23 S. Wenatchee Ave., #320
                    Wenatchee, WA 98801
                    Email: david@overcastlaw.com
                    Email: dkazemba@overcastlaw.com




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            13.1.2 All notices to the Trustee shall be sent to:

                   Mark D. Waldron, Esq.
                   Law Offices of Mark D. Waldron, PLLC
                   6711 Regents Blvd. W., Suite B
                   Tacoma, WA 98466
                   Email: mark@mwaldronlaw.com


                   With a copy to:

                   Pamela M. Egan, Esq.
                   CKR Law LLP
                   502 Second Ave., 14th Floor
                   Seattle, WA 98114

            13.1.3 All notices to EDH shall be sent to:

                   ECO Diversified Holdings, Inc.
                   4625 W. Nevso Drive, Suite 2
                   Las Vegas, NV 89103

                   With a copy to:
                   Shauna Brennan, Esq.
                   Brennan Legal Counsel Group, PLLC
                   2657 Windmill Pkwy #302
                   Henderson, NV 89074

      13.2 No Effect on the Two-Way Agreement. Nothing in this Agreement is
intended or shall be construed by any Party to in any way modify the rights and
obligations of the Moses Lake Landlords and the Trustee under the Two-Way
Agreement.
        13.3 No Diminishment of Financial Claims of Master Landlords. Nothing
in this Agreement is intended or shall be construed by any Party to in any way
reduce the total financial obligations due to the Moses Lake Landlords under the
Moses Lake Leases, except to the extent of the EDH Catch-Up Power Payment, the
EDH Bond Payment, the payments contemplated to be made pursuant to the terms
of this Agreement and pursuant to the Two-Way Agreement. The foregoing
payments will and are attended to reduce the total financial obligations due to the
Moses Lake Landlords under the Moses Lake Leases.




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     13.4 Electronic Communications. Notices and other communications
between the Parties hereunder may be delivered or furnished by electronic
communication (including e-mail and Internet or intranet websites).

      13.5 No Waiver. After the Closing Date, no failure or delay on the part of
the Moses Lake Landlords in the exercise of any power, right or privilege
hereunder shall impair such power, right or privilege or be construed to be a waiver
of any default or acquiescence therein, nor shall any single or part.

       13.6 Severability. In case any provision in or obligation hereunder shall be
invalid, illegal or unenforceable, the validity, legality and enforceability of the
remaining provisions or obligation shall not in any way be affected or impaired
thereby.

      13.7 Integration. This Agreement, combined with the Two-Way Agreement,
the Moses Lake Leases, and the Prepetition Agreements made prior to this
Agreement, form the entire agreements of the Parties. Any term not contained
within this Agreement, the Two-Way Agreement, the Moses Lake Leases, and the
Prepetition Agreements, is not binding.

     13.8 Modification. This Agreement may not be modified, altered or
amended, except by a writing signed by all Parties.

      13.9 Counterpart Execution. This Agreement may be executed in any
number of counterparts, each of which when so executed and delivered shall be
deemed an original, but such counterparts together shall constitute but one and the
same instrument.
       13.10 Headings. The headings to the Sections of this Agreement are inserted
only as a matter of convenience and for reference, and in no way confine, limit or
proscribe the scope or intent of any Section of this Agreement, nor in any way
affect this Agreement.
       13.11 Governing Law. This Agreement shall be governed by and construed
and interpreted in accordance with the laws of the State of Washington and Title 11
of the United States Code.

       13.12 Attorneys’ Fees and Costs. The Parties will each bear the costs of
negotiating or enforcing the Agreement, including without limitation all attorneys’
fees arising from this Agreement.



                             [Signature pages follow.]



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